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                                   4                                UNITED STATES DISTRICT COURT

                                   5                               NORTHERN DISTRICT OF CALIFORNIA

                                   6

                                   7    ENVIRONMENTAL DEMOCRACY                            Case No. 22-cv-03970-JST
                                        PROJECT,
                                   8                                                       ORDER
                                                      Plaintiff,
                                   9           v.
                                  10
                                        GREEN SAGE MANAGEMENT, LLC,
                                  11                  Defendant.
                                  12
Northern District of California
 United States District Court




                                  13          Earlier today, an administrative employee of Defendant’s counsel’s law firm sent the

                                  14   following email to the Courtroom Deputy:

                                  15                 Hi Mauriona,
                                  16
                                                     Can you help confirm if Green Sage Management had a response
                                  17                 due yesterday, August 3, 2022. We are having difficulty
                                                     interpreting the last sentence of Judge Tigar’s order denying
                                  18                 plaintiff’s TRO. It states:
                                  19                 “Plaintiff must file a proof of service of the complaint, Plaintiff’s
                                  20                 moving papers, and this order by July 18, 2022. Defendant’s
                                                     opposition is due August 3, 2022, and Plaintiff’s reply brief is due
                                  21                 August 10, 2022. The Court will conduct a hearing on the motion
                                                     on August 25, 2022 at 9:30 a.m.”
                                  22
                                                     Does this sentence require Plaintiff to file and serve new moving
                                  23
                                                     papers for the motion for TRO the Judge converted to a motion for
                                  24                 preliminary injunction by the order? Or does it require Plaintiff to
                                                     just serve the moving papers for the original motion for TRO?
                                  25
                                                     Thank you for your assistance on this matter.
                                  26
                                              The Court is prohibited from receiving ex parte communications. An ex parte
                                  27
                                       communication occurs when someone communicates with the court, orally or in writing, either
                                  28
                                           Case 4:22-cv-03970-JST Document 17 Filed 08/04/22 Page 2 of 2




                                   1   without notice to or without the presence of the other party or parties. Canon 3(A)(4) of the Code

                                   2   of Conduct for United States Judges provides that, except in circumstances not present here, “a

                                   3   judge should not initiate, permit, or consider ex parte communications or consider other

                                   4   communications concerning a pending or impending matter that are made outside the presence of

                                   5   the parties or their lawyers.”

                                   6          Additionally, Civil Local Rule 11-4(c) provides:

                                   7                  Except as otherwise provided by law, these Local Rules or otherwise
                                                      ordered by the Court, an attorney or party to an action must refrain
                                   8                  from making telephone calls or writing letters or sending copies of
                                                      communications between counsel to the assigned Judge or the
                                   9                  Judge’s law clerks or otherwise communicating with a Judge or the
                                                      Judge’s staff regarding a pending matter, without prior notice to
                                  10                  opposing counsel.
                                  11          Ordinarily, the Court would not respond to an ex parte communication other than to notify

                                  12   the parties that it had occurred. In this instance, however, the Court responds as follows: The
Northern District of California
 United States District Court




                                  13   Court’s prior order required Plaintiff to serve only the moving papers for the original motion for

                                  14   TRO and not to file new motion papers. (Plaintiffs appear to have complied with this requirement.

                                  15   ECF No. 15.) Defendant’s opposition was due August 3, 2022.

                                  16          The parties are admonished to comply with the Local Rules in their future interactions with

                                  17   the Court.

                                  18          IT IS SO ORDERED.

                                  19   Dated: August 4, 2022
                                                                                       ______________________________________
                                  20
                                                                                                     JON S. TIGAR
                                  21                                                           United States District Judge

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